         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 1 of 6 Page ID #:5166


            1    KEVIN S. ROSEN, SBN 133304
                   krosen@gibsondunn.com
            2    MATTHEW S. KAHN, SBN 261679
                   mkahn@gibsondunn.com
            3    SHANNON MADER, SBN 235271
                   smader@gibsondunn.com
            4    BLAKE SHINODA, SBN 300455
                   bshinoda@gibsondunn.com
            5    GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
            7    Facsimile: 213.229.6635
            8
            9    Attorneys for Defendants O’MELVENY &
                 MYERS LLP, STEVEN J. OLSON, AND J.
          10     JORGE DENEVE
          11                           UNITED STATES DISTRICT COURT
          12                         CENTRAL DISTRICT OF CALIFORNIA
          13     JEFFREY I. GOLDEN, Chapter 7           CASE NO. 2:14-cv-08725-CAS-AGR
                 Trustee of Aletheia Research and
          14     Management, Inc.,                      DECLARATION OF KEVIN S.
                                                        ROSEN IN SUPPORT OF MOTION
          15                      Plaintiff,            FOR ORDER CONFIRMING
                                                        ARBITRAL AWARD PURSUANT TO
          16          v.                                § 1 ET SEQ. OF THE FEDERAL
                                                        ARBITRATION ACT BY
          17     O’MELVENY & MYERS LLP;                 DEFENDANTS O’MELVENY &
                 STEVEN J. OLSON, an individual; J.     MYERS LLP, STEVEN J. OLSON,
          18     JORGE DENEVE, an individual; and       AND J. JORGE DENEVE
                 DOES 1 through 12,
          19
                                  Defendants.
          20                                            Hearing:
                                                        Date: October 21, 2019
          21                                            Time: 10:00 a.m.
                                                        Place: Courtroom 8D
          22                                            Judge: Hon. Christina A. Snyder
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 2 of 6 Page ID #:5167


            1    I, Kevin S. Rosen, declare:
            2          1.     I am an attorney licensed to practice law in California. I am a partner
            3    with the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for Defendants
            4    O’Melveny & Myers LLP (“O’Melveny”), Steven J. Olson, and J. Jorge deNeve
            5    (collectively, “Defendants”). I am the lead attorney for Defendants in connection with
            6    all claims that have been asserted against them by Plaintiff Jeffrey Golden, Chapter 7
            7    Trustee (the “Trustee”) of Aletheia Research and Management, Inc. (“Aletheia”), and I
            8    have been fully and actively involved in the defense against those claims. I have
            9    personal knowledge of the facts set forth in this declaration and, if called as a witness,
          10     I could and would testify competently to them.
          11           2.     Soon after entry of the Court’s June 15, 2015 arbitration order, the Trustee
          12     filed his Demand for Arbitration before JAMS, attaching and designating his
          13     Complaint in this action as his Statement of Claims. The parties jointly selected the
          14     Honorable Gary A. Feess (Ret.) to serve as their arbitrator and proceeded to
          15     arbitration. Attached as Exhibit 1 is a true and correct copy of the Phillips ADR
          16     Engagement Letter that was executed by counsel for Defendants and counsel for the
          17     Trustee.
          18           3.     The Trustee filed a revised Statement of Claims in the arbitration.
          19     Attached as Exhibit 2 is a true and correct copy, without the exhibits, of the revised
          20     Statement of Claims dated September 25, 2015.
          21           4.     During the arbitration, the parties proceeded with discovery and pretrial
          22     motion practice, culminating in a 12-day Evidentiary Hearing. The discovery and
          23     pretrial motion practice was extensive. For example, the parties negotiated a
          24     complicated and comprehensive Procedural Order governing the conduct of the
          25     arbitration, including certain discovery issues, which was amended a number of times.
          26     The parties exchanged requests for production, requests for admission, and
          27     interrogatories. Indeed, discovery included 20 fact and expert depositions and millions
          28
                                                        1
Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 3 of 6 Page ID #:5168


            1    of documents produced. The parties also exchanged extensive correspondence related
            2    to discovery issues and disputes, including filing many discovery motions. Moreover,
            3    there were a number of other pretrial motions filed, including seven motions for
            4    summary judgment (all filed by the Trustee), and six motions in limine (again all filed
            5    by the Trustee).
            6          5.     The Evidentiary Hearing was extensive and thorough, and the Arbitrator
            7    heard and reviewed an extraordinary amount of evidence. For example, the
            8    Evidentiary Hearing lasted 12 days, each side gave opening statements, 12 percipient
            9    and expert witnesses testified live, and more than 1,200 exhibits were admitted. The
          10     Arbitrator also considered designated deposition testimony from eight additional
          11     witnesses. The parties then each submitted 50-page post-trial briefs and 25-page reply
          12     briefs, which included extensive citations to the record. Finally, there were live
          13     closing arguments.
          14           6.     The Arbitrator issued a Final Award on June 21, 2019. Respondents
          15     requested certain relatively minor corrections pursuant to JAMS Rule 24(j), which
          16     were accepted by the Arbitrator. The Arbitrator then issued a corrected Final Award
          17     on August 22, 2019. Attached as Exhibit 3 is a true and correct copy of the corrected
          18     Final Award.
          19           7.     Pursuant to the Federal Arbitration Act, Defendants are submitting
          20     herewith the arbitration agreement. O’Melveny’s initial engagement agreement with
          21     Aletheia was dated January 26, 2010 and contained an arbitration provision. (Dkt. 17
          22     at 3-5; see also Dkt. 17-2 at 10-11, 22-23.) Attached as Exhibit 4 is a true and correct
          23     copy of Trial Exhibit 67, which is the engagement agreement dated January 26, 2010,
          24     and was admitted in the arbitration. This engagement agreement was also included as
          25     Exhibit A to the Declaration of Seth Aronson In Support Of Defendants’ Motion to
          26     Compel Arbitration And To Stay Proceedings. (Dkt. 17-2.)
          27
          28
                                                            2
Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 4 of 6 Page ID #:5169


            1          8.     O’Melveny and Aletheia supplemented the initial engagement agreement
            2    three times (April 13, 2010; July 13, 2010; and April 14, 2011) and every engagement
            3    agreement executed after January 26, 2010 explicitly “supplement[ed]” the January 26,
            4    2010 engagement agreement and incorporated the “Terms of Engagement therein,”
            5    including the arbitration clause. (See Ex. 5 at 1; Ex. 6 at 1; Ex. 7 at 1.)
            6          9.     Attached as Exhibit 5 is a true and correct copy of Trial Exhibit 109,
            7    which is the engagement agreement dated April 13, 2010, and was admitted in the
            8    arbitration. This engagement agreement was also included as Exhibit B to the
            9    Declaration of Seth Aronson In Support Of Defendants’ Motion to Compel Arbitration
          10     And To Stay Proceedings. (Dkt. 17-3.) Mr. Aronson’s declaration explained that this
          11     additional engagement agreement was prepared in connection with Aletheia advising
          12     him that it wanted O’Melveny to perform additional work for Aletheia regarding two
          13     new matters, including a matter that involved disputes with Proctor Investment
          14     Managers, LLC (“Proctor”). (Dkt. 17-1, ¶ 4.) This engagement agreement also
          15     incorporated by reference the arbitration agreement contained in the January 26, 2010
          16     engagement agreement. (Ex. 5 at 1.)
          17           10.    Attached as Exhibit 6 is a true and correct copy Trial Exhibit 2095, which
          18     is the engagement agreement dated July 13, 2010, and was admitted in the arbitration.
          19     This engagement agreement was also included as Exhibit C to the Declaration of Seth
          20     Aronson In Support Of Defendants’ Motion to Compel Arbitration And To Stay
          21     Proceedings. (Dkt. 17-4.) Mr. Aronson’s declaration explained that this additional
          22     engagement agreement was prepared in connection with Aletheia advising him that it
          23     wanted O’Melveny to perform additional work for Aletheia involving several other
          24     matters relating to litigation with Proctor. (Dkt. 17-1, ¶ 5.) This engagement
          25     agreement also incorporated by reference the arbitration agreement contained in the
          26     January 26, 2010 engagement agreement. (Ex. 6 at 1.)
          27
          28
                                                              3
Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 5 of 6 Page ID #:5170


            1          11.    Attached as Exhibit 7 is a true and correct copy Trial Exhibit 70, which is
            2    an engagement agreement dated April 14, 2011, and was admitted in the arbitration.
            3    This engagement agreement was also included as Exhibit D to the Declaration of Seth
            4    Aronson In Support Of Defendants’ Motion to Compel Arbitration And To Stay
            5    Proceedings. (Dkt. 17-5.) Mr. Aronson’s declaration explained that this additional
            6    engagement agreement was prepared in connection with Aletheia advising him that it
            7    wanted O’Melveny to perform additional work for Aletheia. (Dkt. 17-1, ¶ 6.) This
            8    engagement agreement also incorporated by reference the arbitration agreement
            9    contained in the January 26, 2010 engagement agreement and the attached Terms of
          10     Engagement contains the same arbitration agreement. (Ex. 7 at 1, 18-19.)
          11           12.    During the course of the arbitration, the Trustee leveled several
          12     unsuccessful attacks against the Arbitrator, including seeking to disqualify him or
          13     cause him to recuse himself.
          14           13.    The Trustee’s first such motion on July 25, 2017 argued that the
          15     Arbitrator should recuse himself because of the Arbitrator’s disclosure that his son,
          16     like many law students planning to practice in Los Angeles, intended to interview for a
          17     summer associate position at O’Melveny and Gibson, Dunn & Crutcher LLP. The
          18     Arbitrator rejected the Trustee’s arguments. Attached as Exhibit 8 is a true and
          19     correct copy of the Arbitrator’s Order, dated August 28, 2017, regarding the Trustee’s
          20     request for recusal of Arbitrator.
          21           14.    The Trustee’s second request to disqualify the Arbitrator on September
          22     14, 2018 objected to the Arbitrator’s ability to consider the testimony of Defendants’
          23     standard of care expert, John Spiegel, based on the Arbitrator’s decades-old brief
          24     contact with Mr. Spiegel when they both worked on a part-time pro bono basis, among
          25     many other volunteers, for the Christopher Commission. Indeed, the Trustee even
          26     went so far as to state that the Trustee would be filing a motion in limine to exclude
          27     Mr. Spiegel’s testimony and “[w]ere Your Honor to admit Mr. Spiegel’s testimony
          28
                                                            4
Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
         Case 2:14-cv-08725-CAS-AGR Document 84-1 Filed 09/09/19 Page 6 of 6 Page ID #:5171


            1    despite the insurmountable infirmities with it, this too would raise serious concerns.”
            2    The Arbitrator rejected the Trustee’s arguments. Attached as Exhibit 9 is a true and
            3    correct copy of the Arbitrator’s Order, dated September 17, 2018, regarding the
            4    Trustee’s September 14, 2018 email regarding John Spiegel.
            5          I declare under penalty of perjury under the laws of the State of California and
            6    the United States that the foregoing is true and correct.
            7          Executed on September 9, 2019 in Los Angeles, California.
            8
            9
                                                                             Kevin S. Rosen
          10
          11
          12
          13
          14
          15
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25
          26
          27
          28
                                                             5
Gibson, Dunn &
                    DECLARATION OF KEVIN S. ROSEN IN SUPPORT OF MOTION FOR ORDER CONFIRMING
Crutcher LLP        ARBITRAL AWARD PURSUANT TO § 1 ET SEQ. OF THE FEDERAL ARBITRATION ACT BY
                     DEFENDANTS O’MELVENY & MYERS LLP, STEVEN J. OLSON, AND J. JORGE DENEVE
